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                 A Myers Industries Company




August 31, 2017

To our valued customers,

We must declare a Force Majeure event resulting from Hurricane Harvey and its aftermath and
have been advised by our resin suppliers that we will receive an allocation of our resin supply.
We do not currently know how severely this may impact our ability to accept and fulfill orders;
however we intend to do our best to work with our customers and keep an open line of
communication.

Our suppliers will implement a surcharge on resin as a result of the constrained supply. We will
pass through that surcharge. We expect the surcharges to be temporary and will be eliminated as
soon as resin supply normalizes. Should you be unwilling to pay the surcharge, please notify us
immediately, so that we can adjust our allocation of resin accordingly.

In addition, we are monitoring our freight carriers and any surcharges being imposed due to the
heightened price of fuel, also resulting from the effects of Hurricane Harvey. We will pass
through this surcharge unless you prefer to arrange alternative delivery at your expense.

We apologize for this increased cost; its imposition is outside of our control. We are exercising
our efforts to obtain a supply of resin to support our customers’ needs.

Sincerely,




T. J. Elliott
President




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